Case 1:18-cv-00950-PTG-JFA Document 227-3 Filed 07/23/19 Page 1 of 3 PageID# 5687

     COX COMMUNICATIONS, INC.· 30(b)(6), Highly Confidential          April 25, 2019
     SONY MUSIC ENT vs COX COMMUNICATIONS                                          1

·1· · · · · · · · · · · ·HIGHLY CONFIDENTIAL

·2
· · · · · · · · IN THE UNITED STATES DISTRICT COURT
·3· · · · · · · · ·EASTERN DISTRICT OF VIRGINIA

·4

·5
· · ·SONY MUSIC ENTERTAINMENT, et al.· ·)
·6· · · · · · · · · · · · · · · · · · · )· Case No.
· · ·Plaintiffs,· · · · · · · · · · · · )· 1:18-cv-00950-
·7· · · · · · · · · · · · · · · · · · · )· LO-JFA
· · · · · · · · · · · · · · · · · · · · )
·8· ·vs.· · · · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · )
·9· ·COX COMMUNICATIONS, INC., et al.· ·)
· · · · · · · · · · · · · · · · · · · · )
10· · · · · · · · · ·Defendants.· · · · )
· · · · · · · · · · · · · · · · · · · · )
11· ·- - - - - - - - - - - - - - - - -· )

12

13· · · · · · · · · ·30(b)(6) DEPOSITION OF

14· · · · ·Cox Communications, Inc. and CoxCom, LLC

15· · · · · ·Through Its Corporate Representative

16· · · · · · · · · ·MATTHEW E. CAROTHERS

17

18

19· · · · · · Thursday, April 25, 2019, 9:04 a.m.

20

21· · · · · · · ·Le Meridien Atlanta Perimeter
· · · · · · · · · ·111 Perimeter Center West
22· · · · · · · · · Atlanta, Georgia· 30346

23· · · · ---------------------------------------------

24· · · · · · ·WANDA L. ROBINSON, CRR, CCR, No. B-1973
· · · · · · ·Certified Shorthand Reporter/Notary Public
25


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com
Case 1:18-cv-00950-PTG-JFA Document 227-3 Filed 07/23/19 Page 2 of 3 PageID# 5688

    COX COMMUNICATIONS, INC.· 30(b)(6), Highly Confidential          April 25, 2019
    SONY MUSIC ENT vs COX COMMUNICATIONS                                         34

·1· ·Response Program is to curb the behavior that led to
·2· ·the complaints, and one obvious way to curb that
·3· ·behavior is to ask them to remove the material.
·4· · · · Q· · And is this a fair statement of Cox's
·5· ·policy on reactivation in July of 2013?
·6· · · · A· · Yes, I would say so.
·7· · · · Q· · You're familiar with CATS, are you not?
·8· · · · A· · I am.
·9· · · · Q· · What is -- first of all, what does CATS
10· ·stand for?
11· · · · A· · CATS is the Cox Abuse Tracking System.
12· · · · Q· · And what is the -- I'm going to use the
13· ·shorthand of CATS during the course of this
14· ·deposition.· Does that make sense to you, as Cox's
15· ·Abuse Tracking System?
16· · · · A· · Yes.· I will assume you're not talking
17· ·about pets.
18· · · · Q· · Excellent.
19· · · · · · ·What does CATS do?
20· · · · A· · Every ISP has a mailbox which is called
21· ·the abuse box, ours is abuse@cox.net, and the
22· ·purpose of the abuse box is to allow people, around
23· ·the world, to notify us when our subscribers are
24· ·doing things that violate our Acceptable Use Policy.
25· ·It could be copyright infringement, of course.· It


                                                              800.211.DEPO (3376)
                                                              EsquireSolutions.comYVer1f
Case 1:18-cv-00950-PTG-JFA Document 227-3 Filed 07/23/19 Page 3 of 3 PageID# 5689

    COX COMMUNICATIONS, INC.· 30(b)(6), Highly Confidential          April 25, 2019
    SONY MUSIC ENT vs COX COMMUNICATIONS                                         35

·1· ·could be the customer is infected with malware.· It
·2· ·could be they are sending spam.· It could be threats
·3· ·and harassment or stalking.· Anything that someone,
·4· ·somewhere in the world, thinks our customer is doing
·5· ·that they shouldn't be.
·6· · · · · · ·So this mailbox receives thousands and
·7· ·thousands of emails every day about all these
·8· ·issues.· Because there are so many emails, it's not
·9· ·practical for people to just read them one by one
10· ·and manually investigate them.· So CATS is the
11· ·system that takes the emails out of that inbox and
12· ·automates the process of investigating them.
13· · · · Q· · CATS is a piece of software, at bottom, is
14· ·it not?
15· · · · A· · It is.
16· · · · Q· · And you created that software; is that
17· ·correct?
18· · · · A· · I did.
19· · · · Q· · When did you create CATS?
20· · · · A· · Some time around 2001, 2002.
21· · · · Q· · Did you create it entirely on your own?
22· · · · A· · Mostly, yeah.
23· · · · Q· · Who owns the rights in that software?
24· · · · A· · I suppose Cox does.
25· · · · Q· · Do you have a contract, an employment


                                                              800.211.DEPO (3376)
                                                              EsquireSolutions.comYVer1f
